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                                          U.S. Department of Justice
[Type text]
                                                    United States Attorney
                                                    Southern District of New York
                                                    United States Courthouse
                                                    300 Quarropas Street
                                                    White Plains, New York 10601


                                                    November 6, 2020

                                 I assume Defendant wants these records as much as the Government, and
BY ECF                           in that case, Probation is authorized to release the records to both sides.
                                 But if Defendant does not consent, the Government should follow the
The Honorable Cathy Seibel       Guide to Judiciary Policy Volume 8, Chapter 5 and Volume 20, Chapter 8.
United States District Judge
Southern District of New York
300 Quarropas Street
White Plains, New York 10601

       Re:     United States v. Kassem Harris, 14 Cr. 645-3 (CS)

Dear Judge Seibel:                                                                             11/6/20

        The Government writes to respectfully request an order from the Court directing the United
States Probation Department, Southern District of New York, to release to the Government and
the defendant-supervisee, Kassem Harris, its records relating to Harris. The Government seeks
these records in connection with a separate, felon-in-possession case United States v. Kassem
Harris, 19 Cr. 746 (NSR), which commenced following a probation search. According to the
assigned U.S. Probation Officer, upon order of the Court, the Probation Department will disclose
any responsive records.

                                               Respectfully submitted,

                                              AUDREY STRAUSS
                                              Acting United States Attorney


                                         By: /s/ David R. Felton
                                             David R. Felton
                                             Assistant United States Attorney
                                             (914) 993-1908

cc:    Defense counsel (by ECF)
       U.S. Probation Officer Erica Cudina (by e-mail)
